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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE

 MICHAEL KENT, Individually and On                   )
 Behalf of All Others Similarly Situated,            )
                                                     )
                         Plaintiff,                  )   Case No. ______________
                                                     )
         v.                                          )   JURY TRIAL DEMANDED
                                                     )
 WILLIAM LYON HOMES, WILLIAM H.                      )   CLASS ACTION
 LYON, MATTEW R. ZAIST, DOUGLAS K.                   )
 AMMERMAN, ERIC A. ANDERSON,                         )
 GARY H. HUNT, MATTHEW R.                            )
 NIEMANN, LYNN CARLSON SCHELL,                       )
 THOMAS F. HARRISON, TAYLOR                          )
 MORRISON HOME CORPORATION, and                      )
 TOWER MERGER SUB, INC.,                             )
                                                     )
                         Defendants.                 )

  COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges upon

personal knowledge with respect to himself, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

                                      NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on November 6, 2019

(the “Proposed Transaction”), pursuant to which William Lyon Homes (“William Lyon” or the

“Company”) will be acquired by Taylor Morrison Home Corporation (“Parent”) and Tower

Merger Sub, Inc. (“Merger Sub,” and together with Parent, “Taylor Morrison”).

       2.      On November 5, 2019, William Lyon’s Board of Directors (the “Board” or

“Individual Defendants”) caused the Company to enter into an agreement and plan of merger (the

“Merger Agreement”) with Taylor Morrison. Pursuant to the terms of the Merger Agreement,

William Lyon’s stockholders will receive 0.800 shares of Parent common stock and $2.50 in cash
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for each share of William Lyon common stock they own.

       3.      On December 6, 2019, defendants filed a Form S-4 Registration Statement (the

“Registration Statement”) with the United States Securities and Exchange Commission (“SEC”)

in connection with the Proposed Transaction.

       4.      The Registration Statement omits material information with respect to the Proposed

Transaction, which renders the Registration Statement false and misleading. Accordingly, plaintiff

alleges herein that defendants violated Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “1934 Act”) in connection with the Registration Statement.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the 1934

Act and Rule 14a-9.

       6.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of William Lyon common stock.

       9.      Defendant William Lyon is a Delaware corporation and maintains its principal

executive offices at 4695 MacArthur Court, 8th Floor, Newport Beach, California 92660. William




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Lyon’s common stock is traded on the New York Stock Exchange under the ticker symbol “WLH.”

       10.     Defendant William H. Lyon is Executive Chairman and Chairman of the Board of

the Company.

       11.     Defendant Matthew R. Zaist is President, Chief Executive Officer, and a director

of the Company.

       12.     Defendant Douglas A. Ammerman is a director of the Company.

       13.     Defendant Eric A. Anderson is a director of the Company.

       14.     Defendant Gary H. Hunt is a director of the Company.

       15.     Defendant Matthew R. Niemann is a director of the Company.

       16.     Defendant Lynn Carlson Schell is a director of the Company.

       17.     Defendant Thomas F. Harrison is a director of the Company.

       18.     The defendants identified in paragraphs 10 through 17 are collectively referred to

herein as the “Individual Defendants.”

       19.     Defendant Parent is a Delaware corporation and a party to the Merger Agreement.

       20.     Defendant Merger Sub is a Delaware corporation, a wholly-owned subsidiary of

Parent, and a party to the Merger Agreement.

                               CLASS ACTION ALLEGATIONS

       21.     Plaintiff brings this action as a class action on behalf of himself and the other public

stockholders of William Lyon (the “Class”). Excluded from the Class are defendants herein and

any person, firm, trust, corporation, or other entity related to or affiliated with any defendant.

       22.     This action is properly maintainable as a class action.

       23.     The Class is so numerous that joinder of all members is impracticable. As of

November 1, 2019, there were approximately 33,983,093 shares of William Lyon common stock




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outstanding, held by hundreds, if not thousands, of individuals and entities scattered throughout

the country.

        24.     Questions of law and fact are common to the Class, including, among others,

whether defendants will irreparably harm plaintiff and the other members of the Class if

defendants’ conduct complained of herein continues.

        25.     Plaintiff is committed to prosecuting this action and has retained competent counsel

experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the other

members of the Class and plaintiff has the same interests as the other members of the Class.

Accordingly, plaintiff is an adequate representative of the Class and will fairly and adequately

protect the interests of the Class.

        26.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible standards

of conduct for defendants, or adjudications that would, as a practical matter, be dispositive of the

interests of individual members of the Class who are not parties to the adjudications or would

substantially impair or impede those non-party Class members’ ability to protect their interests.

        27.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.

                                SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

        28.     William Lyon is one of the largest Western United States regional homebuilders.

        29.     The Company is primarily engaged in the design, construction, marketing, and sale

of single-family detached and attached homes in California, Arizona, Nevada, Colorado,




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Washington, Oregon, and Texas.

       30.    The Company’s core markets include Orange County, Los Angeles, San Diego,

Riverside, San Bernardino, the South and East Bay Areas of San Francisco, Phoenix, Las Vegas,

Denver, Fort Collins, Portland, Seattle, Houston, Austin, and San Antonio.

       31.    On November 5, 2019, William Lyon’s Board caused the Company to enter into

the Merger Agreement with Taylor Morrison.

       32.    Pursuant to the terms of the Merger Agreement, William Lyon’s stockholders will

receive 0.800 shares of Parent common stock and $2.50 in cash for each share of William Lyon

common stock they own.

       33.    According to the press release announcing the Proposed Transaction:

       Taylor Morrison Home Corporation (NYSE: TMHC), a leading national
       homebuilder and developer, and William Lyon Homes (NYSE: WLH), one of the
       nation’s largest homebuilders in the Western United States, today announced they
       have entered into a definitive agreement pursuant to which Taylor Morrison will
       acquire all of the outstanding shares of William Lyon Homes common stock for per
       share consideration of (1) $2.50 in cash and (2) 0.800 shares of Taylor Morrison
       common stock, implying a company value for William Lyon Homes of $21.45 per
       share or $2.4 billion including assumption of debt, yielding an attractive purchase
       price multiple of 1x book. The transaction consideration mix consists of
       approximately 90 percent Taylor Morrison stock and 10 percent cash. Based on
       current trading, Taylor Morrison stockholders will own approximately 77 percent
       of the combined company while William Lyon Homes stockholders will own
       approximately 23 percent.

       The transaction has been unanimously approved by the Boards of Directors of both
       Taylor Morrison and William Lyon Homes and will be submitted to the
       stockholders of William Lyon Homes for approval. The issuance of shares of
       Taylor Morrison common stock in the transaction will also be submitted to the
       stockholders of Taylor Morrison for approval. The transaction is expected to close
       late in the first quarter or early in the second quarter of 2020 and the closing is
       subject to the satisfaction of customary closing conditions. William H. Lyon,
       executive chairman and chairman of the board and holder of approximately
       42 percent of the voting power of William Lyon Homes common stock, has agreed
       to vote all of the shares of William Lyon Homes common stock controlled by him
       in support of the transaction. . . .




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       Citigroup Global Markets, Inc. served as exclusive financial advisor to Taylor
       Morrison and Paul, Weiss, Rifkind, Wharton & Garrison LLP acted as Taylor
       Morrison’s legal counsel. J.P. Morgan Securities LLC served as exclusive financial
       advisor to William Lyon Homes and Latham & Watkins, LLP acted as William
       Lyon Homes’ legal counsel.

The Registration Statement Omits Material Information

       34.     Defendants filed the Registration Statement with the SEC in connection with the

Proposed Transaction.

       35.     As set forth below, the Registration Statement omits material information with

respect to the Proposed Transaction, which renders the Registration Statement false and

misleading.

       36.     First, the Registration Statement omits material information regarding the

Company’s and Taylor Morrison’s financial projections.

       37.     With respect to the Company’s financial projections, the Registration Statement

fails to disclose, for each set of projections: (i) all line items used to calculate (a) Total Revenue,

(b) Total Adjusted Gross Margin, (c) Total Adjusted Pre-Tax Income, (d) Unlevered Free Cash

Flow, (e) EBITDA, (f) Adjusted EBITDA, (g) EBIT, and (h) NOPAT; and (ii) a reconciliation of

all non-GAAP to GAAP metrics.

       38.     The Registration Statement also fails to disclose Taylor Morrison’s financial

projections.

       39.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows

stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion.




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        40.     Second, the Registration Statement omits material information regarding the

analyses performed by the Company’s financial advisor in connection with the Proposed

Transaction, J.P. Morgan Securities LLC (“JPM”).

        41.     With respect to JPM’s Discounted Cash Flow Analysis of the Company, the

Registration Statement fails to disclose: (i) all line items used to calculate unlevered free cash flow;

(ii) the terminal values of the Company; (iii) JPM’s basis for applying a terminal value growth rate

ranging from 0.25% to 0.75%; (iv) the individual inputs and assumptions underlying the range of

discount rates from 7.25% to 8.25%; and (v) the Company’s net debt.

        42.     With respect to JPM’s Discounted Cash Flow Analysis of Taylor Morrison, the

Registration Statement fails to disclose: (i) the unlevered free cash flows that Taylor Morrison is

expected to generate during fiscal years 2020 through 2024 and all underlying line items; (ii) the

terminal values of Taylor Morrison; (iii) JPM’s basis for applying a terminal value growth rate

ranging from 0.25% to 0.75%; (iv) the individual inputs and assumptions underlying the range of

discount rates from 6.75% to 7.75%; and (v) Taylor Morrison’s net debt.

        43.     With respect to JPM’s Intrinsic Value Creation Analysis, the Registration

Statement fails to disclose the individual inputs and assumptions underlying the 7.75% discount

rate and a 0.50% terminal growth rate.

        44.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed.

        45.     The omission of the above-referenced material information renders the Registration

Statement false and misleading, including, inter alia, the following sections of the Registration

Statement: (i) Background of the Merger; (ii) William Lyon Homes’ Reasons for the Merger;




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Recommendations of the William Lyon Homes Board; (iii) Opinion of William Lyon Homes’

Financial Advisor, J.P. Morgan; and (iv) Certain Unaudited Projected Financial Information.

       46.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                             COUNT I

      Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
             Thereunder Against the Individual Defendants and William Lyon

       47.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       48.     The Individual Defendants disseminated the false and misleading Registration

Statement, which contained statements that, in violation of Section 14(a) of the 1934 Act and Rule

14a-9, in light of the circumstances under which they were made, omitted to state material facts

necessary to make the statements therein not materially false or misleading. William Lyon is liable

as the issuer of these statements.

       49.     The Registration Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Registration

Statement.

       50.     The Individual Defendants were at least negligent in filing the Registration

Statement with these materially false and misleading statements.

       51.     The omissions and false and misleading statements in the Registration Statement

are material in that a reasonable stockholder will consider them important in deciding how to vote

on the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Registration

Statement and in other information reasonably available to stockholders.



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       52.     The Registration Statement is an essential link in causing plaintiff and the

Company’s stockholders to approve the Proposed Transaction.

       53.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       54.     Because of the false and misleading statements in the Registration Statement,

plaintiff and the Class are threatened with irreparable harm.

                                            COUNT II

                     Claim for Violation of Section 20(a) of the 1934 Act
                   Against the Individual Defendants and Taylor Morrison

       55.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       56.     The Individual Defendants and Taylor Morrison acted as controlling persons of

William Lyon within the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of

their positions as officers and/or Board members of William Lyon and participation in and/or

awareness of the Company’s operations and/or intimate knowledge of the false statements

contained in the Registration Statement, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of the Company, including the

content and dissemination of the various statements that plaintiff contends are false and

misleading.

       57.     Each of the Individual Defendants and Taylor Morrison was provided with or had

unlimited access to copies of the Registration Statement alleged by plaintiff to be misleading prior

to and/or shortly after these statements were issued and had the ability to prevent the issuance of

the statements or cause them to be corrected.

       58.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had



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the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same.           The Registration Statement contains the unanimous

recommendation of the Individual Defendants to approve the Proposed Transaction. They were

thus directly involved in the making of the Registration Statement.

       59.     Taylor Morrison also had supervisory control over the composition of the

Registration Statement and the information disclosed therein, as well as the information that was

omitted and/or misrepresented in the Registration Statement.

       60.     By virtue of the foregoing, the Individual Defendants and Taylor Morrison violated

Section 20(a) of the 1934 Act.

       61.     As set forth above, the Individual Defendants and Parsley had the ability to exercise

control over and did control a person or persons who have each violated Section 14(a) of the 1934

Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as

controlling persons, these defendants are liable pursuant to Section 20(a) of the 1934 Act. As a

direct and proximate result of defendants’ conduct, plaintiff and the Class are threatened with

irreparable harm.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Registration Statement that

does not contain any untrue statements of material fact and that states all material facts required in




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it or necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby requests a trial by jury on all issues so triable.

 Dated: December 13, 2019                            RIGRODSKY & LONG, P.A.

                                                By: /s/ Gina M. Serra
                                                    Brian D. Long (#4347)
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